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Electronically FIL   by Superior Court of California, County of Los Angeles on 03/25/2020 03 :14 PM Sherri R. Carter, Executive Officer/Clerk of Court, by G. Villarreal,Dep ty Clerk
                                                                                     20STLC02770
                                      Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Serena Murillo




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                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                    FOR THE COUNTY OF LOS ANGELES
               9                                        LIMITED JURISDICTION

             10
                                                                                             ) Case No. 20STLC02770
             11      KARLA URIBE,                                                            )
                                                                                             ) COMPLAINT
             12      Plaintiff,                                                              ) (Amount to exceed $10,000 but not $25,000)
                                                                                             )
             13
                               vs.                                                           )         1. Violation of Rosenthal Fair Debt
             14                                                                              )            Collection Practices Act
                     MIDLAND CREDIT MANAGEMENT,                                              )         2. Violation of Telephone Consumer
             15      INC., Does 1-10 inclusive,                                              )            Protection Act
                                                                                             )
             16
                     Defendant.                                                              )
             17

             18                                                             I. INTRODUCTION
             19                 1. This· is an action for damages brought by an individual consumer for Defendant's
             20      violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code § 1788, et seq.
             21      (hereinafter "RFDCPA") which prohibits debt collectors from engaging in abusive, deceptive,
             22      and unfair practices. Ancillary to the claims above, Plaintiff further alleges claims for
             23      Defendant's violations of the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq.

             24      (hereinafter "TCPA").

             25                                                              II. PARTIES

             26                2.         Plaintiff, KARLA URIBE ("Plaintiff'), is a natural person residing in LOS
             21      ANGELES County in the state of California and is a "debtor" as defined by Cal Civ Code
             28      § 1788.2(h).




                                                                                     Complaint - 1
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              3.     At all relevant times herein, Defendant, MIDLAND CREDIT MANAGEMENT,
 2    INC., ("Defendant"), is a company engaged, by use of the mails and telephone, in the business
 3    of collecting a debt from Plaintiff which qualifies as a "consumer debt," as defined by Cal Civ
 4    Code § 1788.2(f). Defendant regularly attempts to collect debts alleged to be due them, and
 5    therefore is a "debt collector" as defined by the RFDCPA, Cal Civ Code § 1788.2(c). Further,
 6    Defendant uses an "automatic telephone dialing system" as defined by the TCPA, 47 U.S.C.
 7    §227.
 8                                     III. FACTUAL ALLEGATIONS
 9            4.     At various and multiple times prior to the filing of the instant complaint,
10    including within the one year preceding the filing of this complaint, Defendant contacted
11    Plaintiff in an attempt to collect an alleged outstanding debt.
12            5.     Defendant made numerous calls to Plaintiff's phone number ending in -5187.
13    Defendant repeatedly called Plaintiff, with calls averaging several times per day, and from
14    numbers verified to be owned by Defendant. On at least one occasion, Plaintiff answered these
15    calls and informed Defendant to stop calling her. Despite this, Defendant continued to call
16    Plaintiff without her consent.
17            6.     Defendant also used an "automatic telephone dialing system," as defined by 47

18    US.C. § 227(a)(I), to place its repeated collection calls to Plaintiffs seeking to collect the debt
19    allegedly owed.

20            7.     Defendant's calls constituted calls that were not for emergency purposes as
      defined by 47 US.C. § 227(b)(l)(A) .
21

              8.
                                             .
                     Defendant's calls were placed to telephone number assigned to a cellular
22

23    telephone service for which Plaintiffs incur a charge for incoming calls pursuant to 47 US. C.

24    §227(b)(I).

25            9.     §1788.17 of the RFDCPA mandates that every debt collector collecting or

26    attempting to collect a consumer debt shall comply with the provisions of Sections 1692b to

27    1692j, inclusive, of, and shall be subject to the remedies in Section 1692k of, Title 15 of the

28    United States Code statutory regulations contained within the FDCPA, 15 U.S.C. §1692d, and
      §1692d(5).


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              10.    Defendant's conduct violated the RFDCPA in multiple ways, including but not
 2    limited to:
 3                  a) Causing a telephone to ring repeatedly or continuously to annoy Plaintiff (Cal
                       Civ Code§ 1788.ll(d));
 4

 5                  b) Communicating, by telephone or in person, with Plaintiff with such frequency
                       as to be unreasonable and to constitute an harassment to Plaintiff under the
 6                     circumstances (Cal Civ Code § 1788.11 (e));
 7
                    c) Causing Plaintiffs telephone to ring repeatedly or continuously with intent to
 8                     harass, annoy or abuse Plaintiff(§ 1692d(5));

 9                  d) Communicating with Plaintiff at times or places which were known or should
10
                       have been known to be inconvenient for Plaintiff(§ 1692c(a)(l )) ;and

11                  e) Engaging in conduct the natural consequence of which is to harass, oppress, or
                       abuse Plaintiff(§ 1692d)).
12

13            11.    Defendant's conduct violated the TCPA by:
14                   a) using any automatic telephone dialing system or an artificial
                        or pre-recorded voice to any telephone number assigned to a
15
                        paging service, cellular telephone service, specialized mobile
16                      radio service, or other radio common carrier service, or any
                        service for which the called party is charged for the call (47
17                      USC §227(b)(A)(iii)).
18
              12.    As a result of the above violations of the RFDCP A and TCP A, Plaintiff suffered
19
      and continues to suffer injury to Plaintiffs feelings, personal humiliation, embarrassment,
20
      mental anguish and emotional distress, and Defendant is liable to Plaintiff for Plaintiffs actual
21
      damages, statutory damages, and costs and attorney's fees.
22
                                COUNT I: VIOLATION OF ROSENTHAL
23
                            FAIR DEBT COLLECTION PRACTICES ACT
24            13.    Plaintiff reincorporates by reference all of the preceding paragraphs.

25            14.    To the extent that Defendant's actions, counted above, violated the RFDCP A,

26    those actions were done knowingly and willfully.

27                                       PRAYER FOR RELIEF

28            WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant
      for the following:


                                                 Complaint - 3
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                      A.      Actual damages;
                      B.      Statutory damages for willful and negligent violations;
 2
                      C.      Costs and reasonable attorney's fees;
 3                    D.      For such other and further relief as may be just and
                              proper.
 4                              COUNT II: VIOLATION OF TELEPHONE
 5
                                     CONSUMER PROTECTION ACT
                15.   Plaintiff incorporates by reference all of the preceding paragraphs.
 6
                16.   The foregoing acts and omissions of Defendant constitute numerous and
 7
      multiple negligent violations of the TCPA, including but not limited to each and every one of
 8
      the above cited provisions of 47 USC.§ 227 et seq.
 9
                17.   As a result of Defendant's negligent violations of 47 USC. §227 et seq.,
10
      Plaintiff is entitled an award of $500.00 in statutory damages, for each and every violation,
11
      pursuant to 47 USC.§ 227(b)(3)(B).
12
                18.   The foregoing acts and omissions of Defendant constitute numerous and
13
      multiple knowing and/or willful violations of the TCP A, including but not limited to each and
14
      every one of the above cited provisions of 47 USC.§ 227 et seq.
15
                19.   As a result of Defendant's knowing and/or willful violations of 47 U.S.C. § 227
16
      et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
17
      violation, pursuant to 47 U.SC. § 227(b)(3)(B) and 47 USC.§ 227(b)(3)(C).
18                    Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the
                20.
19
      future.
20                                        PRAYER FOR RELIEF
21              WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
22    Defendant for the following:
23                    A. As a result of Defendant's negligent violations of 47 U.S.C.
                         §227(b)(l), Plaintiff is entitled to and request $500 in statutory
24
                         damages, for each and every violation, pursuant to 47 U.S.C.
25                       227(b)(3)(B);
                      B. As a result of Defendant's willful and/or knowing violations of 47
26                       USC. §227(b)(l), Plaintiff is entitled to and requests treble damages,
27
                         as provided by statute, up to $1,500, for each and every violation,
                         pursuant to 47 USC. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C) and
28    Ill




                                                  Complaint - 4
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                 C. Any and all other relief that the Court deems just and proper.
 2
                    PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
 3
                 Respectfully submitted this 24th of March, 2020.
 4

 5
                                                              __ __________   _,....
                                                                                       ...   __ .,__   .,


 6                                      By:
                                                Todd M. Friedman, Esq.
 7                                              Law Offices of Todd M. Friedman, P.C.
 8
                                                Attorney for Plaintiff

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                                              Complaint • 5
